     Case 2:21-cv-00145-GMN-DJA Document 7 Filed 11/04/21 Page 1 of 3



1                               UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     RICKIE HILL,                                         Case No. 2:21-cv-00145-GMN-DJA
4                                            Plaintiff                    ORDER
5            v.
6     JUAN LIMA, et al.,
7                                       Defendants
8
9    I.     DISCUSSION

10          Plaintiff, Rickie Hill – NDOC Inmate # 87052, is a frequent litigator in this Court. In

11   the past 18 months alone Hill has filed dozens of cases. The Court has an inmate early

12   mediation program that is unique to the District of Nevada and is designed to attempt to

13   save resources by referring the parties in some civil rights cases to mediation. Of course,

14   defendants in such cases have the right not to make any settlement offers, and plaintiffs

15   have the right not to accept settlement offers. However, when mediation does not appear

16   likely to be productive and save resources, the Court may choose not to refer a case to

17   mediation. Hill recently has attended multiple inmate mediations in civil rights cases.

18   (See, e.g., 3:20-cv-00495-MMD-WGC, 2:20-cv-01655-KJD-DJA). The mediations have

19   been unsuccessful. The Court has determined that this case will be excluded from the

20   inmate mediation program to preserve the Court’s limited resources. The Court vacates

21   the Inmate Early Mediation Conference set for January 28, 2022. (ECF No. 6). The

22   parties are free to privately discuss settlement if they so choose but are not required to

23   do so. This case will proceed on the normal litigation track.

24   II.    CONCLUSION

25          For the foregoing reasons, it is ordered that the Inmate Early Mediation Conference

26   scheduled for January 28, 2022 (ECF No. 6) is vacated. This case will proceed on the

27   normal litigation track.

28          It is further ordered that Hill’s application to proceed in forma pauperis (ECF No.
     Case 2:21-cv-00145-GMN-DJA Document 7 Filed 11/04/21 Page 2 of 3



1    1) is granted. Hill will not be required to pay an initial installment of the filing fee. In the
2    event that this action is dismissed, the full filing fee must still be paid pursuant to 28 U.S.C.
3    § 1915(b)(2). Hill herein is permitted to maintain this action to conclusion without the
4    necessity of prepayment of any additional fees or costs or the giving of security therefor.
5           Pursuant to 28 U.S.C. § 1915, as amended by the Prison Litigation Reform Act,
6    the Nevada Department of Corrections will forward payments from the account of Rickie
7    Hill, # 87052 to the Clerk of the United States District Court, District of Nevada, 20% of
8    the preceding month's deposits (in months that the account exceeds $10.00) until the full
9    $350 filing fee has been paid for this action. The Clerk of the Court will send a copy of
10   this order to the Finance Division of the Clerk’s Office. The Clerk will send a copy of this
11   order to the attention of Chief of Inmate Services for the Nevada Department of
12   Corrections, P.O. Box 7011, Carson City, NV 89702.
13          The Clerk of the Court will electronically SERVE a copy of this order and a copy of
14   Hill’s complaint (ECF No. 4) on the Office of the Attorney General of the State of Nevada
15   by adding the Attorney General of the State of Nevada to the docket sheet. This does
16   not indicate acceptance of service.
17          It is further ordered that service must be perfected within ninety (90) days from the
18   date of this order pursuant to Fed. R. Civ. P. 4(m).
19          It is further ordered that subject to the findings of the screening order (ECF No. 3),
20   within twenty-one (21) days of the date of entry of this order, the Attorney General’s Office
21   will file a notice advising the Court and Hill of: (a) the names of the defendants for whom
22   it accepts service; (b) the names of the defendants for whom it does not accept service,
23   and (c) the names of the defendants for whom it is filing the last-known-address
24   information under seal. As to any of the named defendants for whom the Attorney
25   General’s Office cannot accept service, the Office will file, under seal, but will not serve
26   the inmate Hill the last known address(es) of those defendant(s) for whom it has such
27   information. If the last known address of the defendant(s) is a post office box, the Attorney
28   General's Office will attempt to obtain and provide the last known physical address(es).



                                                   -2-
     Case 2:21-cv-00145-GMN-DJA Document 7 Filed 11/04/21 Page 3 of 3



1           It is further ordered that if service cannot be accepted for any of the named
2    defendant(s), Hill will file a motion identifying the unserved defendant(s), requesting
3    issuance of a summons, and specifying a full name and address for the defendant(s). For
4    the defendant(s) as to which the Attorney General has not provided last-known-address
5    information, Hill will provide the full name and address for the defendant(s).
6           It is further ordered that if the Attorney General accepts service of process for any
7    named defendant(s), such defendant(s) will file and serve an answer or other response
8    to the complaint (ECF No. 4) within sixty (60) days from the date of this order.
9           It is further ordered that Hill will serve upon defendant(s) or, if an appearance has
10   been entered by counsel, upon their attorney(s), a copy of every pleading, motion or other
11   document submitted for consideration by the Court. If Hill electronically files a document
12   with the Court’s electronic-filing system, no certificate of service is required. Fed. R. Civ.
13   P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1. However, if Hill mails the document
14   to the Court, Hill will include with the original document submitted for filing a certificate
15   stating the date that a true and correct copy of the document was mailed to the defendants
16   or counsel for the defendants. If counsel has entered a notice of appearance, Hill will
17   direct service to the individual attorney named in the notice of appearance, at the physical
18   or electronic address stated therein. The Court may disregard any document received by
19   a district judge or magistrate judge which has not been filed with the Clerk, and any
20   document received by a district judge, magistrate judge, or the Clerk which fails to include
21   a certificate showing proper service when required.
22          It is further ordered that this case is no longer stayed.
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24                       4
            DATED THIS _____ day of November 2021.
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26                                                     Gloria M. Navarro, Judge
                                                       United States District Court
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